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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

NORIANA RADWAN                            : CIVIL ACTION NO. 3:16-CV-02091 (VAB)
PLAINTIFF,                                :
                                          :
      v.                                  :

UNIVERSITY OF CONNECTICUT                 : APRIL 1, 2019
BOARD OF TRUSTEES, WARDE
MANUEL, LEONARD TSANTIRIS,
AND MONA LUCAS, INDIVIDUALLY,
DEFENDANTS

               MEMORANDUM OF LAW IN REPLY TO PLAINTIFF’S OBJECTION
               [Dkt. 71] TO DEFENDANTS' MOTION TO PRECLUDE EXPERT
               WITNESS’S REPORT AND TESTIMONY [Dkt. 70]


      The Defendants provide the following brief in response to plaintiff’s objection [Dkt

71] to their motion to preclude Donna Lopiano’s report and expert testimony [Dkt. 70]:

1. Plaintiff Misstates the Relevant Procedural History Leading to the Settlement

Conference.

      Plaintiff's counsel has omitted significant details from their narration of the

procedural history of this case since August 2018. [Dkt. 71, pp. 2-4]. Plaintiff makes

baseless accusations against Defendants and undersigned counsel relating to the

requested settlement conference. See [Dkt. 71, p. 3, including n.1]. The court granted

the parties' joint motion to stay discovery pending the settlement conference. [Dkt. 63].

Defendants in good faith sought a settlement conference that was held before Judge

Garfinkel on February 11, 2019. [Dkt. 69]. On behalf of the defendants, defense counseI

suggested the settlement conference to Attorney Klein while in the midst of producing

supplemental discovery responses and discussing scheduling Dr. Lopiano's and the

defendants' depositions. Attorney Klein and defense counsel had numerous


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discussions via written correspondence and telephone conference related to discovery

disputes throughout July and August, 2018. These discovery disputes were resolved --

contrary to plaintiff's characterization. [See Dkt. 71, p. 17-18]. Moreover, if Attorney

Klein did not agree to a settlement conference, the defendants would have moved for

an extension of time to depose plaintiff's expert and to disclose defendants' testifying

expert.

       The defendants and undersigned counsel were not responsible for the delayed

settlement conference. The settlement conference was originally scheduled for

November 8, 2018, before Magistrate Judge Garfinkel. [Dkt. 65]. On October 31, 2018,

the conference was rescheduled to November 9, 2018. [Dkt. 67]. On the morning of

November 9, 2018, just hours before the scheduled settlement conference, Judge

Garfinkel's staff contacted counsel that the judge needed to reschedule the conference.

The court rescheduled the conference and held it on February 11, 2019. [Dkt. 69].

2. Plaintiff Misstates the Elements of A Selective Enforcement Claim Under Title

IX and the Equal Protection Clause as Established by the Second Circuit.

       At pp. 9-11 of plaintiff's brief, [Dkt. 71, 9-11] plaintiff articulates that her Title IX

and Equal Protection Clause counts allege selective enforcement claims. Plaintiff omits

from her brief that established law requires a plaintiff alleging a selective enforcement

claim based on sex to present evidence that male students were treated more favorably

than she in similar circumstances. [See Dkt. 70-1, pp. 5-6]. By omitting this

requirement, plaintiff views that any and all instances in which a male UConn student-

athlete engaged in misconduct and/or received discipline that differed from plaintiff is

relevant to her selective enforcement claim. As argued more fully in defendants' brief in



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support of its motion to preclude, this expansive standard is contrary to Second Circuit

caselaw. [Id.]

3. Testimony related to NCAA Division I collegiate sports programs’ compliance

with the gender equity requirements of Title IX is not relevant to any claim alleged

in plaintiff’s complaint.

       Plaintiff generally argues that gender equity requirements of Title IX is a

“recognized field of expertise on which expert testimony” may be offered in United

States District Court, District of Connecticut. [Dkt. 71, pp. 4-11]. Plaintiff fails to respond

to the specific grounds raised in the defendants’ motion regarding each of the “opinions”

offered by Dr. Lopiano in response to the twelve queries posed to her by plaintiff. [Dkt.

70-1, pp. 7-18]. Plaintiff simply argues that because Dr. Lopiano has been permitted to

provide expert testimony in other federal cases that alleged Title IX violations against

collegiate athletic departments, her expert testimony should be permitted in this case.

[Dkt. 71, pp. 7-8].

       The plaintiff characterizes her Title IX and Equal Protection Clause claims as a

selective enforcement claim, i.e, she received a harsher penalty for her behavior

[showing her middle finger to the ESPNU camera while celebrating UConn’s AAC

championship game victory] than UConn male student athletes who engaged in

unsportsmanlike conduct and “far more serious misconduct” than she. [Dkt. 71, pp. 9-

11].

       Plaintiff fails to identify how Dr. Lopiano’s testimony relating to “gender equity

requirements of Title IX” is at all applicable to the present case. Notwithstanding the

plaintiff’s own characterization of her Title IX claim as that of a of selective enforcement



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claim against UConn and the individual UConn employees, plaintiff inexplicably states

the following: “The core of the Title IX claim in Count 1 of the Complaint deals with

discrimination against the Plaintiff in National Collegiate Athletic Association (“NCAA”)

Division I collegiate athletics based on her gender.” [Dkt. 71, p. 6]. Further puzzling,

plaintiff argues that Dr. Lopiano has specialized knowledge relating to the “inner working

of collegiate athletics, grants-in-aid (i.e., sports scholarships), standards and practices

of disciplinary enforcement, and considerations of gender bias, prejudice and equity in

NCAA Division I college sports programs,” an area that is “beyond the common

knowledge of judges and jurors.” [Dkt. 71, pp. 6-7].

       First, the only defendants in the present case are UConn and three current and

former UConn employees in their individual capacities. The NCAA and the collective

Division I colleges and universities (340 members in 2014) are not defendants.

Whatever “gender bias, prejudice and equity” there may be in Division I athletics

generally is not an issue in the present case. As it relates to plaintiff’s Title IX claim, the

only relevant query is whether the defendants were motivated by gender bias when the

plaintiff’s scholarship was terminated. Yu v. Vassar College, 97 F. Supp. 3d. 448 , 46

(S.D.N.Y. 2015).

       Second, whether Dr. Lopiano has been permitted to testify as an expert witness

in other cases where a Title IX violation was alleged against another Division I university

is immaterial to the court’s determination of whether Dr. Lopiano’s report and proposed

testimony in the present case complies with the requirements of FRE 401, 702, and

Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993); Kuhmo Tire Co. v.

Carmichael, 526 U.S. 137 (1999). In fact, the case in which Dr. Lopiano testified as an



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expert witness in Connecticut federal district court, Biediger v. Quinnipiac University,

728 F. Supp. 2d 62 (2010), involved a Title IX claim that was entirely different from Ms.

Radwan’s selective enforcement claim. Biediger was a class action suit that alleged

Quinnipiac University discriminated against the class of female student-athletes in its

allocation of athletic participation opportunities. Id. at 114. Here, Ms. Radwan is the

only plaintiff and the Title IX claim alleges that when UConn and the individual

defendants terminated the plaintiff's athletic scholarship, sex was a motivating factor.

       According to the plaintiff's brief, Dr. Lopiano's testimony in Biediger covered the

subjects of team roster analysis to determine which students counted as athletic

participants under Title IX regulations; individual sports offered to female members of

the student body; and off-campus recruiting. [Dkt. 71, p. 7-8]. Testimony relating to

these subjects were permitted in Biediger to assist the court in determining whether the

plaintiff class's (female students at Quinnipiac University) Title IX rights were violated.

None of these subjects are germane to the issue of whether Ms. Radwan's rights under

Title IX were violated.

4. Plaintiff fails to address the grounds raised in Defendants' motion to preclude

expert testimony [Dkt. 70-1] that specifically addressed each opinion expressed

by Dr. Lopiano in her report.

       At page 11 though 15 of plaintiff’s objection [Dkt. 71], instead of addressing the

grounds raised in defendants' motion to preclude Dr. Lopiano’s expert testimony [See

Dkt. 70-1, pp. 7-18], plaintiff challenges defendants' objection to plaintiff’s request for

production. As should be obvious, the only issue presented by the pending motion is

whether Dr. Lopiano's testimony and report should be precluded. Plaintiff has not



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complied with the applicable Federal Rules of Civil Procedure, Local Rules or Judge

Bolden’s standing orders that govern when and how a party may seek the court's

involvement in deciding a discovery dispute. The defendants do not agree with the

plaintiff’s summary of defendants' responses and objections to her request for

production. [Dkt. 71, pp. 14-15, 17-18]. Any discovery dispute that plaintiff wishes to

pursue is not properly before the court in the present motion. Therefore, without waiving

any objection, the defendants do not address the discovery disputes raised in plaintiff’s

brief.

5. Dr. Lopiano's testimony and report relating to factual findings must be

excluded.

         Plaintiff generally argues that experts are permitted to testify about factual

conclusions and, accordingly, any factual findings made by Dr. Lopiano are permitted.

[Dkt. 71, p. 16-17]. Defendants identified in their brief in support of motion to preclude

each factual conclusion made by Dr. Lopinao that must be excluded. [Dkt. 70-1, pp. 13-

14]. Defendants moved to exclude this testimony on two grounds: 1) that this proposed

testimony infringed upon the role of the jury to find facts and; 2) that these "opinions"

were based upon a flawed reasoning and methodology. [See Dkt. 70-1, pp. 12-14, 15,

17]. Plaintiff has failed to respond to the second ground, and thus defendants rely upon

the arguments raised in their brief in support of the present motion. [Id.].

         With regard to the first ground, Dr. Lopiano's factual findings amount to nothing

more than a factual narrative, not admissible as expert testimony. See S.E.C. v. Tourre,

950 F. Supp. 2d 666, 675-76 (S.D.N.Y. 2013)("Acting simply as a narrator of the facts

does not convey opinions based on an expert's knowledge and expertise; nor is such a



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narration traceable to a reliable methodology. Mere narration thus fails to fulfill Daubert's

most basic requirements."); see also In re LIBOR-Based Financial Instruments Antitrust

Litigation, 299 F. Supp. 3d 430, 469 (S.D.N.Y. 2018).

       Moreover, many of Dr. Lopiano's factual findings contain conclusions about

defendants' motives and are based upon speculation. [See Dkt. 70-1, pp 13, 14, 15, 16.]

Such expert testimony is not permissible. See Scott v. Chipotle Mexican Grill, Inc, 315

F.R.D. 33, 45-46 (S.D.N.Y. 2016) (“Inferences about the intent or motive of parties or

others lie outside of the bounds of expert testimony.”); see also Doe v. Colgate

University, 2017 WL 4990629 at *9 (N.D.N.Y. 2017). Additionally, an expert's opinion

based upon speculation and assumptions is not admissible pursuant to Rule 702. See

Zerega Ave. Realty Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206, 213-14 (2d

Cir. 2009) (“[A] trial judge should exclude expert testimony if it is speculative or

conjectural....”); Disabled in Action v. City of New York, 2019 WL 1017268, at *2

(S.D.N.Y. Mar. 4, 2019).

6. The Court may Rule on Defendants' Motion to Preclude Dr. Lopiano's

Testimony and Report.

       Dr. Lopiano's proposed testimony should be precluded by the court at this phase

in the litigation. Plaintiff argues that her report is not final and is subject to change as

discovery continues in the present case, including Dr. Lopiano's review of the

defendants' depositions. [Dkt. 71, 16-17.]1 Possible revisions to her report (and

1
 Plaintiff states that defendants have "stonewalled" her request for production of
documents as it relates to allegations contained in paragraph 83 of the complaint which
alleges the following:

       On Sunday, November 23, 2014, according to Hartford Courant reporter Dom
       Amore in his article of November 24, 2014, "Rakim Lubin, Omar Calhoun Among

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testimony) would not ameliorate the grounds for excluding Dr. Lopiano's testimony. [Dkt.

70-1]. An expert's report based upon deposition testimony for the purpose of providing a

"factual narrative" and speculating on the state of mind of parties is not admissible.

Highland Capital Management, L.P. v. Schneider, 379 F. Supp. 2d 461, 469-470

(S.D.N.Y. 2005), and cases cited therein.

       Defendants rely upon their brief in support of their motion that the court should

grant the present motion during this phase of the litigation. Needless discovery will be

pursued by plaintiff if Dr. Lopiano's testimony and report are not precluded.

                                           CONCLUSION

       Based upon the foregoing, and the defendants' brief in support of the defendants'

motion to preclude Dr. Lopiano's report and testimony, the defendants' motion should

be granted because Dr. Lopiano's anticipated testimony and opinions do not satisfy the

criteria for the admissibility of expert testimony as set forth in the Federal Rules of

Evidence 401 and 702; Daubert, 509 U.S. 579; and Kuhmo, 526 U.S. 137.




       4 UConn Players Suspended" (Exhibit DD), the defending national champions,
       UConn's men's basketball team, while in San Juan, Puerto Rico, played "West
       Virginia without four of its players due to "violation of team rules." Coach Ollie
       would not disclose any further information about the incident(s) in San Juan.
       When asked what the "violation" was, Ollie responded: "I have no comment on it,
       . . . we'll assess the situation when we get back to Connecticut."

       Plaintiff's assessment of the defendants' responses to her request for production
are not properly before the court. Nonetheless, defendants provided plaintiff with all
responsive documents related to this particular request for production, and plaintiff's
counsel has been advised of this.

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                                                    DEFENDANTS

                                                    WILLIAM TONG
                                                    ATTORNEY GENERAL


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                                       CERTIFICATION

       I hereby certify that on April 1, 2019, a copy of the foregoing Motion was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the court's electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice

of Electronic Filing. Parties may access this filing through the court's CM/ECF System.



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